                         UNITED STATES DISTRICT COURT                          Fi LED
                    EASTERN DISTRICT OF NORTH CAROLINA                     NOV 19 2018
                                                                      PETER A MOORE J
                                  EASTERN DIVISION                   BYUS DIST~c:;YR"}: ~b~'r
                                                                       -----            DEPCLK




 CURTIS WASHINGTON,
               Petitioner,


    v.                                                    Case No. 4:16-CR-50


 UNITED STATES OF AMERICA,
               Respondent.
                                              I
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               MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
            VACATE, SET ASIDE OR CORRECT SENTENCE PURSUANT
             TO TITLE 28 UNITED STATES CODE SECTION §2255


          ·COMES NOW Petitioner Curtis            Washington~·   Pro-se,     and
hereby respectfully moves this Honorable Court to Vacate, Set
Aside or Correct his sentence pursuant to 28 U.S.C. §2255.


          Petitioner Washington presents the following in support
of this     Motion~and     contends that this conviciton was obtained
, in violation of his Constitutional Rights to effective assistance
of Counsei at all critical stages of the.proceedings,                      as well
as other issues presented herein infra:·




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                          STATEMENT OF THE CASE


       Curtis Washington,        Petitioner,    was convicted of Possession
Of A Firearm.By A Convicted Felon §922(g)(l)(a),           and Distribution
Of Cocaine Base §841(1)(a).           Petitioner was sentenced to serve
200 Months imprisonment pursuant to a guilty plea.


       The    Prob~tion   Off ice conducted a Presentence Report (PSR}
that classified Petitioner an Armed Career Criminal (ACCA).               During
sentencing, Petitioner was enhanced for prior offenses which
resulted in the classification of Armed Career Criminial (ACCA)
pursuant to. 18 U.S.C. §924(e).


       Petitioner    ~tates    that he instructed defense CounBel to
file objections to the enhancement in the Presentence Report (PSR)
before sentencing, and to object to the Armed Career Criminal
enhancement.     Before sentencing Petitioner received a final
Presentence Report with an addendum-statement attached stating the
Government nor the Defendant had made any objections to the PSR.


       After asking Counsel about not filing the requested
objections,     Petitioner was told that if Counsel made the objections.
it could badly hurt his case and suffer the risk of getting more
time or even a life       s~nt~nce.     Counsel withdrew the requested
objections at sentencing without Petitioner's          permissio~   and   allo~ed

additibnal enhancements to be applied to Petitioner's sentence.



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·GROUND ONE :


PETITIONER'S PRIOR OFFENSE OF CONSPIRACY TO COMMIT ROBBERY
CANNOT BE PREDICATE OFFENSE UNDER ACCA.


Hobbs Act Robbery fails to qualify as a Crime of Violence under
§924(c)'s Force Clause because Hobbs Act Rbbbery does not include
as an element or otherwise require any        ~se   or show of forceT
particularly violent physical force.         Further,    Hobbs Act Robbery
does not qualify as a Crime of Violence under §924(c)'s.residual
Clause because the clause is uncons ti tu tionally vague:- pursuant
to   John~on Vw   United States, 135 S. Ct. 251 (2015).        Petitioner's
prior offense of Conspiracy To Commit Armed Robbeiy1cannot be.
used as predicate offense for enhancement .under ACCA.


Section 924(c) p~ohibits the use of· a firearm in furtherance of
.. \
a Crime of Violence. The statute. def in es "Crime·.· df Viole.nee"
as a felony that:

         (A)    has as an element thi use, . attempted use,
                or threatened use of physical force ag~inst
                the person or property· of another, or;

         (B)    thai by its nature, involves a substantial
                risk that physical force agiahst the person
                or property of another may be used. in the
                course of committing the offense.

18 U.S.C. §924(c)(3).      The first tlause, §924(c)(3)(A),         is
commonly referred to as the force clause.           "Physical Force,"    as



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used in the Force Clause,                 is "Violent Force;" meaning "strong
physical force" that is capable of causing physical pain or injury
to another person.''             Johnson v. United States, 558         U.s~    133, 140
(2010).


The second clause, . §924(c)(3)(B) is commonly called the Residual
Clatise,         because Hobbs Act,\Robbery fails to satisfy the Force
.Clause,         and cannot     s~tisfy    the Residucal    Cl~use   because it is
unconstitutionally vague under Johnson v. United States, 135. S.
Ct. 2551 (2015) and             Ses~ions   v. Dimaya, 138 S. Ct. 1204, 1210,
200 ... L.Ed.2d 5·49 (2018).


I.           HOBBS ACT ROBBERY IS NOT A "CRIME OF VIOLENCE" UNDER §924(c)'s
             FORCE CLAUSE


Courts emplby the categorical approach;when                   determinin~whether

an offense          irrcL~des   an element of force.        See Descamps      v~   United
States, 133 S. Ct. 2276, 2283                (2013)(~pplying    the categorical
approach to the Armed Career Criminal Act ("ACCA"));                       United
States v. Fuertes, 805 F.3d 485, 4~8 (4th Cir. 2015)(applyirig
the categorical approach to                §924(~)).     This approach requires·
Courts to "look only to the statutory definitions - i .:e.,                        t~e

elements - of a           d~fendant's      [6ffense] and not to the particular
facts underlying" the offense in determining whether the offense
qualifies as . .;a "Crime of Violence."                Descamps, 133 S. Ct. at
2283 (citation omitted);              United States v. Royal, 731 F.3d 333,
341-42 (4th Cir. 2013).              Urider the categorical approach,              an
 ·.   '.•.



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offense can only qualify as a "Crime of Violence" if all° the
conduct prescribed by a statute, ''including the most inno6ent
conduct" matches or is narrower than the. "Crime of Violence"
definition.    United States v. ~orres Miguel, 701 F.3d 165, 167
(4th Cir. 2012).


Within the framework, tl!.tevCourt must determine whether Hobbs
Act Robbery hasJ.as .an: element the "use,      attempted use,         or
threatened use of force against the person of another.''               Hobbs
Act Robbery is defined under 18 U.S.C. §1951(b)(1)            as~


            "the unlawful taking or obtaining of personal
             property from the p~rson in the. presence of
             another, ag4inst his will, by means of actual
             or immediate or future.force, to his persori
             9r property, or property in his custody or
             possession."

18 U.S.C. §1951(b)(1).      Importantly,    no required element of
"physical   force~r   exists· under the statute.     Rather,        the crime
may occur ''by means of actual or threatened force,            or violence,
or fear of injury[.]''    Moreover,    because the Act is interpreted
broadly "to protect intang.ible, ·as w.ell as tangible property[,]"
United States v. Local 560 of the Irtternational        Brothe~hood:of

Teamsters, 780 F.2d 267, 281 (3rd Cir. 1986),.         it p_;rescribes a
wide range of conduct that does not include the use of physical
or violent force to a person or property.          Prope~ly    framed,      then,
the inquiry is whether violation of the Act requires the use or
show of nphyical force·;:" as that term is defined by federal law.
Case law from this Court confirms that it does riot.


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In Johnson v. United States, 559 U.S. 133 (2010),              the Supreme
Court held that the 1force::. clause applies only where the "physical
force"., '.Used or threatened is "violent force," defined as "force
capable of causing physical pain or injury to another p~rson.''
Id at 140.     By contrast,       this Court has   uph~ld   Hobbs Act    11



convictions that involved the fear and/or ~hreat of economic harm,
but not physical force or violence.          See e.g. United States v.
Billups, 692 F.2d 320, 330-31 (4th Cir; 1982)(affirming Hobbs Act
cbnviction where non-violent extortion of cash from victim was
the result of victim's fear of economic harm);              United States v.
Iozz{, 420 F.2d 512, 514 (4th Cir. 1970)(same)~


Although Hobbs Act Robbery may be committed through violence,
there is no: requirement that the robbery be accomplished by
"violent force" as that term has been defined as a matter of
federal law.    Thus,   because the "full .range of conduct" covered
by the statute does not r equire· "v.:Lolent force,"
                              0
                                                             Hobbs Act
Robbery simply cannot qualify as a "crime of violence" under
§924(c)(3) force clause.




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GROUND TWO:


COUNSEL'S.~AILURE TO OBJECT TO PETITIONER'S PRIOR CONSOLIDATED
OFFENSES .RENDERED INEFFECTIVE ASSISTANCE.


A District Ctiurt determination if a prior State conviction qualifies
 as a Career Offender predicate reviews United States v. Jones,             ~667

F.3d 477, 482 (4th Cir.-2012) . .A Defendant is a Career Offender
· if (1) he was at least eighteen years old when the instant offense
was committed,      (2) the intant offense is a felony and is either
 a cri~e of violence or a controlled substance offense, - and (3)
he has at least two prior felony convictions for crimes of violence
 or controlled substance offenses.;         See U.S.S.G. §4B1.1(a)(2015).
The third requirement is satisfied where ''(1) the            d~fendant   has
previously sustained at least two felony convictions of either a
crime of violence or a controlled substance offense;                and (2) the
 sentences for at least two of the aforementioned felony              convictio~s

are counted serprately.''      United.· States v. navis, 720 F.3d 215,
 217 r(4th Cir. 2013)(internal quotation marks omitted);·             See U.S.S.G.
 §4B1 .. 2{c:).


 In United States v. Davis,       the Court found    tha~    a consolidated
 sentence under the North      Carol~na    Structure Sentencing Act results
 in a single sentence that may      se~ve   only as one sentence for
purpo~es     bf determining whether a defendant is a career offender.
 Id at 218-20;     Unit~d   States v. Henoud, 81 F.jd       484~   490 (4th Cir.



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       1996),       the Court states that "A federal Court construing the
       federal Sentencing Guidelines need not turn to State law."
       Instead,      rests on what the plain language of the Guidelines
       demands.


       North Carolina Court was required to impose a sentence ''specified ·
       for the class of offense and prior record level of the most serious
       offense."      United States v. Davis, 720 F.Jd 215, 218 (4th Cir.
       2013)(citing     N.~. G~n.    Stat,    §15A~1340.15(b)   2001)).


       In Davis,      the CGurt found that a consolidated sentence under
       North Carolina Structured Sentencing Act results in a                ~ingle
. '
  ''   sentence that.may serve ?nly as one sentence for purposes of
       determining      whether a defendant is a Career         off~nder.     720 F.3d
       at 218-20.      Petitioner's consolidated sentence was 80 to 105
       months as one offense.         Petitioner's consolidated sentence ·did
       not exceed a term of         ten years and the maximum term of
       imprisonment for ACCA purposes has to be at least ten years.
       See Newbold, 791 F.3d at 464.


       Therefore Petitioner's prior offenses were consolidated 'for a
       single judgement and should not be uied as separate offenses to
       qualify as predicate offenses for enhancements             pur~uant    to
       §924(e) ..


       Petitioner's §924(e)(2)(B)        enhancem~nt    is entitled. to resentencing


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under Johnson    v~   United States, 135 S. Ct. 2551\ 192 L.Ed.2d 569
(2015),     the Residual Clause,                 U.S.S.G. Manual §4B1.2(a)(2),
was unconstitutionally vague.                    The Superme Court's holding in
Johnson,     that the identical language in the Armed Career Criminal
Act,     18 U.S.C. §924(~)(2012), is unconstitutionaily vague.
Applying the ruling in Welch v. United States, 136. S. Ct. 1257,
194 L.Ed;2d 387 (2016),              declared       Johnson'~   rtiling retroactive to
collateral review under 28 U.S. C. § 2255.                    Counsel's f aih.ire to
object to the enhancements at sentencing was ineffective aBsistance.
Strickland v. Washington, 466 U.S. 668, 687-88', 691-92, 104                      s.   Ct.
2052, 80 L.Ed.2d      67~.       (1984).     Counsel's-unprofessional errdrs
prejudiced Petitioner at sentencing to receive a higher S.entencing
R~n~e.     Strickland, .466 at 694, Glover               v~   United States, 531 U.S.
                             .                           .
198, 203, 121 S. Ct. 696, 148 t.Ed.2d 604 .(2001).




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GROUND THREE:


FAILURE TO OBJECT TO CRIMINAL HISTORY COMPUTATION SCORE.


Petitioner's Criminal History score of 12 was in               error~     Counsel's
failure to object to the Criminal             Hi~tory   and argue that Petitioner's
score should have been a total of 9 points was ineffective.
Counsel's failure to object allowed the Court to sentence Petitioner
to   ~   computation score of 12 and Category V.            Without the
erroneously additional points,               Petitioner would have been red~ced
from 12 to 9,         which would have placed him in Criminal History
Category IV rather than V,             and   a lower sentencing range.


Counsel's· Failure To Object Was Deficient.
Counsel's failure to object to the erroneous additional 3 points
increase was ineffective assistance that fell below an objective
standard of reasonableness.             Strickland v. Washington, 466 U.S.
668,      687~88,691-92,     104 S. Ct. 2052, 80 L.Ed.2d 674      (1984)~

Counsel's failure to object to the error allowed the Court to
sentence Petitioner, to         ~   higher category that prejudiced him to
receive a      greater~sentence.       Had .not but for   Counse~·~   unprofessional
errors,       the result of the proceedings would have been different.
Id at 694;         Glo~er   v. United Staies, 531 U.S. 198, 202~04, 121
S.   Ct.    6~6,   148 L.Ed.2d 604 (2001)(holding that Sixth Amendment
prejudiced resulted from an asserted error that added to the
Defendant's sentence).



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                                  CONCLUSION


          Petitioner Washington hereby humbly requests that thts
Honorable Court grant this 28 U.S.C. §2255 Motion to Vacate,
Set Aside Or Correct Sentence and remand him for a new trial
and sentencing on the valid merits of the issues· and grounds
presented herein.         The   Petitione~     asks this Court for a prompt
Evidentiary Hearing on the same.




                                  DECLARATION

          I,   Petitioner Curtis Washington hereby declare and affirm
under penalty of perjury as set forth in the provisions of 18· U.S .C.
§1746 that the foregoing informations and representations aie true
and correct to the best of my knowledge and belief on this               ~

day o f    ilJOV{.Wlbif            ' 2018.
                                                 By:~~k
                                                     Curtis Washington
                                                     # 62632-056
                                                     USP - Terre Haute
                                                     P.O. Box 33
                                                     Terre Haute, Indiana 47808




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                     CERTIFICATE OF SERVICE


       I,   Curtis Washington hereby certify that a true copy of
the foregoing pleading was sent by first class mail postage prepaid
on this ~ day_ of      Nblkw\txf          , 2018 to:      The Clerk of the
Court - United States District Court - Eastern District of North
Carolina - Eastern Division,        at:




                                          By:
                                                  ---------------------------
                                                  Curtis Washington
                                                  # 62632-058
                                                  USP - Terre Haute
                                                  P.O. Box 33
                                                  Terre Haute, Indiana 47808




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                                                                                ~
                                                                                v




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